              Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 1 of 13




 1                                                             The Honorable Richard A. Jones
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 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10
11    UNITED STATES OF AMERICA,                          No. CR20-182RAJ
12                           Plaintiff,
13                      v.                               PLEA AGREEMENT
14    TYRE WAYNE MEANS,
15                           Defendant.
16
17
18         The United States of America, by and through Brian T. Moran, United States
19 Attorney for the Western District of Washington, and Todd Greenberg, Assistant United
20 States Attorney for said District, Defendant Tyre Wayne Means, and Defendant’s
21 attorney, David Hammerstad, enter into the following Agreement, pursuant to Federal
22 Rule of Criminal Procedure 11(c).
23                 The Charges. Defendant, having been advised of the right to have this
24 matter tried before a jury, agrees to waive that right and enter a plea of guilty to the
25 following charges contained in the Indictment: Arson, in violation of Title 18, United
26 States Code, Sections 844(f)(1) and 844(i), as charged in Count 1; and Possession of a
27 Stolen Firearm, in violation of Title 18, United States Code, Section 922(j), as charged in
28 Count 2.
     Plea Agreement - 1                                                          UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                  SEATTLE, WASHINGTON 98101
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             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 2 of 13




 1         By entering the pleas of guilty, Defendant hereby waives all objections to the form
 2 of the charging document. Defendant further understands that before entering any guilty
 3 pleas, Defendant will be placed under oath. Any statement given by Defendant under
 4 oath may be used by the United States in a prosecution for perjury or false statement.
 5                 Elements of the Offense. The elements of the offenses to which
 6 Defendant is pleading guilty are as follows:
 7                 a.      Arson, as charged in Count 1:
 8         First, Defendant used means of fire;
 9         Second, Defendant maliciously damaged or destroyed, or attempted to damage or
10         destroy, a vehicle; and
11         Third, the vehicle was used in interstate or foreign commerce or an activity
12         affecting interstate or foreign commerce [§ 844(i)]; or was in whole or in part
13         owned or possessed by an institution or organization receiving Federal financial
14         assistance [§ 844(f)(1)].
15                 b.      Possession of a Stolen Firearm, as charged in Count 2:
16         First, Defendant knowingly possessed a stolen firearm,
17         Second, Defendant knew or had reasonable cause to believe that the firearm was
18         stolen; and
19         Third, the firearm had previously been shipped or transported in interstate or
20         foreign commerce.
21                 The Penalties.
22         Defendant understands that the statutory penalties applicable to the offense of
23 Arson, as charged in Count 1, are: A maximum term of imprisonment of twenty (20)
24 years; a mandatory minimum term of imprisonment of five (5) years; a fine of up to
25 $250,000; a period of supervision following release from prison of up to three years; and
26 a mandatory special assessment of $100 dollars. If a probationary sentence is imposed,
27 the probation period can be for up to five years.
28
     Plea Agreement - 2                                                        UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
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             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 3 of 13




 1          Defendant understands that the statutory penalties applicable to the offense of
 2 Possession of a Stolen Firearm, as charged in Count 2, are: A maximum term of
 3 imprisonment of ten (10) years; a fine of up to $250,000; a period of supervision
 4 following release from prison of up to three years; and a mandatory special assessment of
 5 $100 dollars. If a probationary sentence is imposed, the probation period can be for up to
 6 five years.
 7          Defendant understands that supervised release is a period of time following
 8 imprisonment during which Defendant will be subject to certain restrictive conditions and
 9 requirements. Defendant further understands that, if supervised release is imposed and
10 Defendant violates one or more of the conditions or requirements, Defendant could be
11 returned to prison for all or part of the term of supervised release that was originally
12 imposed. This could result in Defendant serving a total term of imprisonment greater
13 than the statutory maximum stated above.
14          Defendant understands that as a part of any sentence, in addition to any term of
15 imprisonment and/or fine that is imposed, the Court may order Defendant to pay
16 restitution to any victim of the offense, as required by law.
17          Defendant further understands that the consequences of pleading guilty may
18 include the forfeiture of certain property, either as a part of the sentence imposed by the
19 Court, or as a result of civil judicial or administrative process.
20          Defendant agrees that any monetary penalty the Court imposes, including the
21 special assessment, fine, costs, or restitution, is due and payable immediately and further
22 agrees to submit a completed Financial Statement of Debtor form as requested by the
23 United States Attorney’s Office.
24                   Rights Waived by Pleading Guilty. Defendant understands that by
25 pleading guilty, Defendant knowingly and voluntarily waives the following rights:
26                   a.    The right to plead not guilty and to persist in a plea of not guilty;
27                   b.    The right to a speedy and public trial before a jury of Defendant’s
28          peers;
     Plea Agreement - 3                                                             UNITED STATES ATTORNEY
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                                                                                     SEATTLE, WASHINGTON 98101
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             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 4 of 13




 1                 c.      The right to the effective assistance of counsel at trial, including, if
 2         Defendant could not afford an attorney, the right to have the Court appoint one for
 3         Defendant;
 4                 d.      The right to be presumed innocent until guilt has been established
 5         beyond a reasonable doubt at trial;
 6                 e.      The right to confront and cross-examine witnesses against Defendant
 7         at trial;
 8                 f.      The right to compel or subpoena witnesses to appear on Defendant’s
 9         behalf at trial;
10                 g.      The right to testify or to remain silent at trial, at which trial such
11         silence could not be used against Defendant; and
12                 h.      The right to appeal a finding of guilt or any pretrial rulings.
13                 United States Sentencing Guidelines. Defendant understands and
14 acknowledges that the Court must consider the sentencing range calculated under the
15 United States Sentencing Guidelines and possible departures under the Sentencing
16 Guidelines together with the other factors set forth in Title 18, United States Code,
17 Section 3553(a), including: (1) the nature and circumstances of the offenses; (2) the
18 history and characteristics of Defendant; (3) the need for the sentence to reflect the
19 seriousness of the offenses, to promote respect for the law, and to provide just
20 punishment for the offenses; (4) the need for the sentence to afford adequate deterrence to
21 criminal conduct; (5) the need for the sentence to protect the public from further crimes
22 of Defendant; (6) the need to provide Defendant with educational and vocational training,
23 medical care, or other correctional treatment in the most effective manner; (7) the kinds
24 of sentences available; (8) the need to provide restitution to victims; and (9) the need to
25 avoid unwarranted sentence disparity among defendants involved in similar conduct who
26 have similar records. Accordingly, Defendant understands and acknowledges that:
27                 a.      The Court will determine Defendant’s Sentencing Guidelines range
28         at the time of sentencing;
     Plea Agreement - 4                                                              UNITED STATES ATTORNEY
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                                                                                      SEATTLE, WASHINGTON 98101
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             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 5 of 13




 1                 b.      After consideration of the Sentencing Guidelines and the factors in
 2         18 U.S.C. 3553(a), the Court may impose any sentence authorized by law, up to
 3         the maximum term authorized by law;
 4                 c.      The Court is not bound by any recommendation regarding the
 5         sentence to be imposed, or by any calculation or estimation of the Sentencing
 6         Guidelines range offered by the parties or the United States Probation Department,
 7         or by any stipulations or agreements between the parties in this Plea Agreement;
 8         and
 9                 d.      Defendant may not withdraw a guilty plea solely because of the
10         sentence imposed by the Court.
11                 Ultimate Sentence. Defendant acknowledges that no one has promised or
12 guaranteed what sentence the Court will impose.
13                 Statement of Facts. The parties agree on the following facts. Defendant
14 admits Defendant is guilty of the charged offense:
15         On May 30, 2020, there was a large protest in the downtown area of
           Seattle, Washington. SPD officers were in the area to direct traffic and
16
           ensure the safety of people and property. SPD officers used several
17         vehicles to respond to the protest, including Vehicle 4 and Vehicle 5.
18         Three SPD officers were utilizing Vehicle 4. All three officers were issued
19         rifles and possessed them when they deployed to the area of the protest.
           Two of the officers stored their rifles in locked rifle drawers in Vehicle 4,
20
           but there was not room for Officer Kindal Holt’s rifle, so she placed her
21         rifle (an FN Herstal FN15 5.56x45mm rifle with serial number
           FNCR012595) in its rifle bag in the trunk/cargo area of the vehicle.
22         Vehicle 4 was parked on 6th Avenue between Olive Way and Pine Street.
23         Vehicle 5 was parked near the intersection of 5th Avenue and Pine Street.
24         On May 30, 2020, Tyre Wayne Means was in downtown Seattle. Means
25         was wearing a red hooded sweatshirt with a large Adidas flower logo on the
           front and white stripes near the middle of each arm; a red ball cap with a
26         large Adidas flower logo; red sweatpants with white Adidas designs on the
27         back of the lower legs; red Adidas shoes with white stripes and white soles;
           a light blue surgical style mask; and two large gold colored rings.
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     Plea Agreement - 5                                                         UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
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                                                                                 SEATTLE, WASHINGTON 98101
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             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 6 of 13




1          At approximately 4:00 p.m., Means approached Vehicle 5, which had
           already been heavily damaged by other persons who had smashed the
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           vehicle’s windows, removed the doors, and caused other physical damage.
3          At the time, there was no fire or smoke in the car. Means lit a paper towel
           on fire with a lighter and placed it into the back seat of Vehicle 5 on top of
4
           a plant. Smoke emanated from the vehicle, and flames began to grow.
5          After Means started the fire, other individuals sprayed lighter fluid into the
           vehicle, threw fireworks into the vehicle, threw a burning cloth into the
6
           vehicle, threw an incendiary device into the vehicle, and burned the vehicle
7          using an aerosol can and lighter.
8          At 4:15 p.m., Means approached Vehicle 4 and looked inside the vehicle
9          through a smashed rear window. Means then reached inside Vehicle 4 and
           pulled out a rifle bag. He placed it on the sidewalk and opened the bag.
10         Means observed that there was a rifle inside the bag. He then quickly
11         closed the bag and ran away with it on 6th Avenue towards Pine Street.
           Means was chased by an unknown white male in dark clothing. This
12         unknown male attempted to grab the rifle bag, but Means managed to retain
13         the bag and the unknown male fell to the ground.
14         Shortly thereafter, Means was dispossessed of the rifle bag during a
15         physical confrontation between Means and an unknown black male. Means
           placed the rifle bag on the ground during the confrontation and an unknown
16         person picked it up and walked away with it. Later that day, the rifle bag
17         containing the rifle issued to Officer Holt was returned to the Seattle Police
           West Precinct by an anonymous person. In addition to the rifle, the bag
18         contained a nearly fully loaded 30-round extended capacity magazine. The
19         rifle had previously been shipped or transported in interstate or foreign
           commerce
20
21         The Seattle Police Department is involved in interstate and foreign
           commerce and in activities affecting interstate and foreign commerce, and
22         is also an institution and organization that receives Federal financial
23         assistance.

24         The parties agree that the Court may consider additional facts contained in
           the Presentence Report (subject to standard objections by the parties) and/or
25
           that may be presented by the United States or Defendant at the time of
26         sentencing, and that the factual statement contained herein is not intended
           to limit the facts that the parties may present to the Court at the time of
27
           sentencing.
28
     Plea Agreement - 6                                                         UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 7 of 13




 1                 Sentencing Factors. The parties agree that the following Sentencing
 2 Guidelines provisions apply to this case:
 3         As to Count 1, a base offense level of 24, pursuant to USSG § 2K1.4(a)(1),
           because the offense created a substantial risk of serious bodily injury to a
 4
           person other than a participant in the offense, and that risk was created
 5         knowingly;
 6         As to Count 2, a base offense level of 20, pursuant to USSG § 2K2.1(a)(4),
 7         because the offense involved a semiautomatic firearm that is capable of
           accepting a large capacity magazine and Defendant was a prohibited person
 8
           at the time of the offense;
 9
           As to Count 2, a two-level upward adjustment pursuant to USSG
10         § 2K2.1(b)(4)(A), because the firearm was stolen;
11
           As to Count 2, a four-level upward adjustment pursuant to USSG
12         § 2K2.1(b)(6)(B), because Defendant possessed the firearm in connection
13         with another felony offense (i.e., theft and burglary).

14         The parties agree they are free to present arguments regarding the applicability of
15 all other provisions of the United States Sentencing Guidelines. Defendant understands,
16 however, that at the time of sentencing, the Court is free to reject these stipulated
17 adjustments, and is further free to apply additional downward or upward adjustments in
18 determining Defendant’s Sentencing Guidelines range.
19                 Acceptance of Responsibility. At sentencing, if the Court concludes
20 Defendant qualifies for a downward adjustment acceptance for acceptance of
21 responsibility pursuant to USSG § 3E1.1(a) and Defendant’s offense level is 16 or
22 greater, the United States will make the motion necessary to permit the Court to decrease
23 the total offense level by three (3) levels pursuant to USSG §§ 3E1.1(a) and (b), because
24 Defendant has assisted the United States by timely notifying the United States of
25 Defendant’s intention to plead guilty, thereby permitting the United States to avoid
26 preparing for trial and permitting the Court to allocate its resources efficiently.
27 //
28 //
     Plea Agreement - 7                                                          UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
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                                                                                  SEATTLE, WASHINGTON 98101
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             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 8 of 13




 1                 Recommendation Regarding Imprisonment. The government and
 2 Defendant agree to jointly recommend a total sentence of 60 months. Defendant
 3 understands that these recommendations are not binding on the Court and the Court may
 4 reject the recommendation of the parties and may impose any term of imprisonment up to
 5 the statutory maximum penalty authorized by law. Defendant further understands that
 6 Defendant cannot withdraw the guilty plea simply because of the sentence imposed by
 7 the Court. Except as otherwise provided in this Plea Agreement, the parties are free to
 8 present arguments regarding any other aspect of sentencing.
 9         The parties further understand that if Defendant enters into this agreement with the
10 United States, and fulfills all of the terms of this agreement, the Kitsap County
11 Prosecuting Attorney’s Office will recommend a concurrent sentence in case number 18-
12 1-00758-18.
13                 Restitution. Defendant agrees that the Court can order Defendant to pay
14 restitution to the Seattle Police Department, the victim of Defendant’s crimes. Defendant
15 is aware that the United States will present evidence supporting an order of restitution for
16 all losses caused by all of Defendant’s criminal conduct known to the United States at the
17 time of Defendant’s guilty plea. In exchange for the promises by the United States
18 contained in this plea agreement, Defendant agrees that Defendant will be responsible for
19 any order by the District Court requiring the payment of restitution for such losses.
20                 a.      The full amount of restitution shall be due and payable immediately
21         on entry of judgment and shall be paid as quickly as possible. If the Court finds
22         that the defendant is unable to make immediate restitution in full and sets a
23         payment schedule as contemplated in 18 U.S.C. § 3664(f), Defendant agrees that
24         the Court’s schedule represents a minimum payment obligation and does not
25         preclude the U.S. Attorney’s Office from pursuing any other means by which to
26         satisfy the defendant’s full and immediately-enforceable financial obligation,
27         including, but not limited to, by pursuing assets that come to light only after the
28         district court finds that the defendant is unable to make immediate restitution.
     Plea Agreement - 8                                                          UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                  SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 9 of 13




1                  b.      Defendant agrees to disclose all assets in which Defendant has any
2          interest or over which Defendant exercises control, directly or indirectly, including
3          those held by a spouse, nominee, or third party. Defendant agrees to cooperate
4          fully with the United States’ investigation identifying all property in which
5          Defendant has an interest and with the United States’ lawful efforts to enforce
6          prompt payment of the financial obligations to be imposed in connection with this
7          prosecution. Defendant’s cooperation obligations are: (1) before sentencing, and
8          no more than 30 days after executing this Plea Agreement, truthfully and
9          completely executing a Financial Disclosure Statement provided by the United
10         States Attorney’s Office and signed under penalty of perjury regarding
11         Defendant’s and Defendant’s spouse’s financial circumstances and producing
12         supporting documentation, including tax returns, as requested; (2) providing
13         updates with any material changes in circumstances, as described in 18 U.S.C.
14         § 3664(k), within seven days of the event giving rise to the changed
15         circumstances; (3) authorizing the United States Attorney’s Office to obtain
16         Defendant’s credit report before sentencing; (4) providing waivers, consents or
17         releases requested by the U.S. Attorney’s Office to access records to verify the
18         financial information; (5) authorizing the U.S. Attorney’s Office to inspect and
19         copy all financial documents and information held by the U.S. Probation Office;
20         (6) submitting to an interview regarding Defendant’s Financial Statement and
21         supporting documents before sentencing (if requested by the United States
22         Attorney’s Office), and fully and truthfully answering questions during such
23         interview; and (7) notifying the United States Attorney’s Office before transferring
24         any interest in property owned directly or indirectly by Defendant, including any
25         interest held or owned in any other name, including all forms of business entities
26         and trusts.
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     Plea Agreement - 9                                                         UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
             Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 10 of 13




 1                 c.      The parties acknowledge that voluntary payment of restitution prior
 2          to the adjudication of guilt is a factor the Court considers in determining whether
 3          Defendant qualifies for acceptance of responsibility pursuant to USSG § 3E1.1(a).
 4                 Abandonment of Contraband. Defendant also agrees that, if any federal
 5 law enforcement agency seized any illegal contraband that was in Defendant’s direct or
 6 indirect control, Defendant consents to the federal administrative disposition, official use,
 7 and/or destruction of that contraband.
 8                 Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
 9 the United States Attorney’s Office for the Western District of Washington agrees to
10 dismiss Counts 3 and 4 of the Indictment and not to prosecute Defendant for any
11 additional offenses known to it as of the time of this Plea Agreement based upon
12 evidence in its possession at this time, and that arise out of the conduct giving rise to this
13 investigation. In this regard, Defendant recognizes the United States has agreed not to
14 prosecute all of the criminal charges the evidence establishes were committed by
15 Defendant solely because of the promises made by Defendant in this Agreement.
16 Defendant agrees, however, that for purposes of preparing the Presentence Report, the
17 United States Attorney’s Office will provide the United States Probation Office with
18 evidence of all conduct committed by Defendant. Defendant agrees that any charges to
19 be dismissed before or at the time of sentencing were substantially justified in light of the
20 evidence available to the United States, were not vexatious, frivolous or taken in bad
21 faith, and do not provide Defendant with a basis for any future claims under the “Hyde
22 Amendment,” Pub. L. No. 105-119 (1997).
23                 Breach, Waiver, and Post-Plea Conduct. Defendant agrees that, if
24 Defendant breaches this Plea Agreement, the United States may withdraw from this Plea
25 Agreement and Defendant may be prosecuted for all offenses for which the United States
26 has evidence. Defendant agrees not to oppose any steps taken by the United States to
27 nullify this Plea Agreement, including the filing of a motion to withdraw from the Plea
28 Agreement. Defendant also agrees that, if Defendant is in breach of this Plea Agreement,
     Plea Agreement - 10                                                          UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
            Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 11 of 13




 1 Defendant has waived any objection to the re-institution of any charges that previously
 2 were dismissed or any additional charges that had not been prosecuted.
 3         Defendant further understands that if, after the date of this Agreement, Defendant
 4 should engage in illegal conduct, or conduct that violates any conditions of release or the
 5 conditions of confinement (examples of which include, but are not limited to, obstruction
 6 of justice, failure to appear for a court proceeding, criminal conduct while pending
 7 sentencing, and false statements to law enforcement agents, the Pretrial Services Officer,
 8 Probation Officer, or Court), the United States is free under this Plea Agreement to file
 9 additional charges against Defendant or to seek a sentence that takes such conduct into
10 consideration by requesting the Court to apply additional adjustments or enhancements in
11 its Sentencing Guidelines calculations in order to increase the applicable advisory
12 Guidelines range, and/or by seeking an upward departure or variance from the calculated
13 advisory Guidelines range. Under these circumstances, the United States is free to seek
14 such adjustments, enhancements, departures, and/or variances even if otherwise
15 precluded by the terms of the Plea Agreement.
16                 Waiver of Appellate Rights and Rights to Collateral Attacks. Defendant
17 acknowledges that, by entering the guilty pleas required by this plea agreement,
18 Defendant waives all rights to appeal from Defendant’s conviction, and any pretrial
19 rulings of the Court, and any rulings of the Court made prior to entry of the judgment of
20 conviction. Defendant further agrees that, provided the Court imposes a custodial
21 sentence that is within or below the Sentencing Guidelines range as determined by the
22 Court at the time of sentencing, Defendant waives to the full extent of the law:
23                 a.      Any right conferred by Title 18, United States Code, Section 3742,
24         to challenge, on direct appeal, the sentence imposed by the Court, including any
25         fine, restitution order, probation or supervised release conditions, or forfeiture
26         order (if applicable); and
27
28
     Plea Agreement - 11                                                          UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
            Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 12 of 13




 1                 b.      Any right to bring a collateral attack against the conviction and
 2         sentence, including any restitution order imposed, except as it may relate to the
 3         effectiveness of legal representation.
 4         This waiver does not preclude Defendant from bringing an appropriate motion
 5 pursuant to 28 U.S.C. § 2241, to address the conditions of Defendant’s confinement or
 6 the decisions of the Bureau of Prisons regarding the execution of Defendant’s sentence.
 7         If Defendant breaches this Plea Agreement at any time by appealing or collaterally
 8 attacking (except as to effectiveness of legal representation) the conviction or sentence in
 9 any way, the United States may prosecute Defendant for any counts, including those with
10 mandatory minimum sentences, that were dismissed or not charged pursuant to this Plea
11 Agreement.
12                 Voluntariness of Plea. Defendant agrees that Defendant has entered into
13 this Plea Agreement freely and voluntarily, and that no threats or promises were made to
14 induce Defendant to enter a plea of guilty other than the promises contained in this Plea
15 Agreement or set forth on the record at the change of plea hearing in this matter.
16                 Statute of Limitations. In the event this Plea Agreement is not accepted by
17 the Court for any reason, or Defendant breaches any of the terms of this Plea Agreement,
18 the statute of limitations shall be deemed to have been tolled from the date of the Plea
19 Agreement to: (1) thirty days following the date of non-acceptance of the Plea
20 Agreement by the Court; or (2) thirty days following the date on which a breach of the
21 Plea Agreement by Defendant is discovered by the United States Attorney’s Office.
22                 Completeness of Agreement. The United States and Defendant
23 acknowledge that these terms constitute the entire Plea Agreement between the parties,
24 except as may be set forth on the record at the change of plea hearing in this matter. This
25 Agreement binds only the United States Attorney’s Office for the Western District of
26 Washington. It does not bind any other United States Attorney’s Office or any other
27 office or agency of the United States, or any state or local prosecutor.
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     Plea Agreement - 12                                                          UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET, SUITE 5220
     U.S. v. Means, CR20-182RAJ
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
            Case 2:20-cr-00182-RAJ Document 27 Filed 03/10/21 Page 13 of 13




1          Dated this 10th day of March, 2021.
2
3                                           /s Tyre Wayne Means (per approval)
4
                                            TYRE WAYNE MEANS
5
                                            Defendant
6
                                            /s David Hammerstad
7
8                                           DAVID HAMMERSTAD
                                            Attorney for Defendant
9
10                                          /s Todd Greenberg
11
                                            TODD GREENBERG
12                                          Assistant United States Attorney
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     Plea Agreement - 13                                                    UNITED STATES ATTORNEY
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     U.S. v. Means, CR20-182RAJ
                                                                             SEATTLE, WASHINGTON 98101
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